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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                                                 :
              v.                                 :   Case No. 21-cr-495 (ABJ)
                                                 :
DANIEL PAUL GRAY,                                :
                                                 :
        Defendant.                               :

  JOINT STATUS REPORT AND MOTION TO CONTINUE STATUS CONFERENCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Maria Jacob, counsel for Daniel Paul Gray (“the defendant”), hereby

submit the following Joint Status Report.       The parties also respectfully move the Court to

continue the status conference currently scheduled for Tuesday, February 8, 2022, for a period of

approximately 30 days, and to exclude the intervening time under the Speedy Trial Act. In

support of the Motion, the parties represent:

   1. The defendant is before the Court charged in a criminal indictment with several offenses,

       including: Civil Disorder, in violation of Title 18, United States Code, § 231(a)(3);

       Obstruction of an Official Proceeding, in violation of Title 18, United States Code §§

       1512(c)(2), 2; Resisting, or Impeding Certain Officers, in violation of Title 18, United

       States Code, § 111(a)(1); Entering and Remaining in a Restricted Building, in violation of

       Title 18, United States Code, § 1752(a)(1); Disorderly and Disruptive Conduct in a

       Restricted Building, in violation of Title 18, United States Code, § 1752(a)(2); Engaging

       in Physical Violence in a Restricted Building or Grounds, in violation of Title 18, United

       States Code, § 1752(a)(4); Disorderly Conduct in a Capitol Building, in violation of Title

       40, United States Code, § 5104(e)(2)(D); Act of Physical Violence in the Capitol Grounds
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   or Buildings, in violation of Title 40, United States Code, § 5104(e)(2)(F); and Parading,

   Demonstrating, or Picketing in a Capitol Building, in violation of Title 40, United States

   Code, § 5104(e)(2)(G) (ECF No. 12).

2. The defendant is out of custody.

3. The government continues to provide voluminous discovery to the defense (ECF Nos. 18,

   20, 21, and 22), and most recently made voluminous discovery production number 11.

   Additionally, a searchable discovery platform has just been made available to all parties

   related to the January 6, 2021 litigation.

4. On or about October 5, 2021, the government extended a plea offer. The government

   recently indicated the plea offer would expire in approximately 30 days from now.

5. In light of the ongoing litigation in multiple cases regarding the viability of 18 U.S.C.

   §1512, the defendant is still considering the plea offer.

6. The parties propose the status conference currently scheduled for February 8, 2022, be

   continued approximately 30 days, at the Court’s convenience. If the defendant would like

   to accept the plea offer, the parties will contact the Court prior to the next status conference

   asking that hearing be converted to a change of plea proceeding. If the defendant rejects

   the plea offer, the government requests the Court’s permission to place the plea offer on

   the record at the status conference scheduled in approximately 30 days, and a trial date will

   be selected.

7. The parties believe it is in the interest of justice to toll the Speedy Trial Act while the

   defendant continues to consider the plea offer and the government continues to provide

   discovery. The parties thus request a tolling of the Speedy Trial Act, pursuant to 18 U.S.C.


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         § 3161(h)(7)(A), based on the factors described in 18 U.S.C. 3161(h)(7)(B)(i), (ii), and

         (iv), as well as 18 U.S.C. § 3161(h)(1)(G).

      8. Therefore, the parties request the February 8, 2022 status conference be continued for

         approximately 30 days, and that there is an exclusion of time under the Speedy Trial Act

         from February 8, 2022, through the next scheduled status conference.

      9. The defendant concurs with this request.


         Respectfully submitted,

         MATTHEW M. GRAVES
         United States Attorney

By:           /s/                                          /s/
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